                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE



WALTER WILLIAMS,

               Petitioner,

v.                                                               3:02-cr-078
                                                                 3:09-cv-438


UNITED STATES OF AMERICA,

               Respondent.



                                MEMORANDUM OPINION



        This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

filed by petitioner Walter Williams ("Williams"). The Clerk is DIRECTED to serve a copy

of the motion and this Memorandum Opinion and accompanying Judgment Order on the

United States Attorney. However, for the reasons stated below, the United States Attorney

shall not be required to file an answer or other pleading to the motion, and the motion will

be DENIED as time-barred.

        Willams pleaded guilty to cocaine distribution and possession charges, and was

sentenced to a term of life imprisonment. The Sixth Circuit affirmed his sentence. United

States v. Williams, No. 06-6427 (6th Cir. April 22, 2008) (unpublished decision). Williams'




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conviction became final on May 16, 2008, which was the date the Sixth Circuit's mandate

was filed. [Court File No. 992]. The court received Williams' § 2255 motion on September

30, 2009.1

       Section 2255 provides for a one-year statute of limitation in which to file a motion to

vacate sentence. The limitation period generally runs from the date on which the judgment

of conviction becomes final. Williams' § 2255 motion was filed over four months after the

expiration of the statute of limitation. Williams acknowledges that his § 2255 motion was

not timely filed, but contends that he wrote letters to the district court dating back to March

7, 2009, in which he sought an extension of time to file a § 2255 motion.

       The court received two letters from Williams, on August 31, 2009, and September 1,

2009. [Court File Nos. 1058 and 1059, respectively]. Both letters were received after the

expiration of the statute of limitation. In any event, the court lacks jurisdiction to extend the

time for filing a § 2255 motion. See Reed v. United States, 13 Fed.Appx. 311, 2001 WL

700811 (6th Cir. June 15, 2001). "Federal courts simply lack jurisdiction to consider a

request for an extension of time to file a § 2255 motion." Id. at *2 (citing United States v.

Leon, 203 F.3d 162, 163-64 (2d Cir. 2000); In re Application of Wattanasiri, 982 F. Supp.

955, 957-58 (S.D.N.Y. 1997)). Williams' § 2255 must be denied as time-barred.




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        The § 2255 motion indicates it was signed by petitioner on September 25, 2009. Since that
was after the filing deadline, the "prison mailroom filing" rule of Houston v. Lack, 487 U.S. 266,
270-72 (1988), is irrelevant in this case.

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       It plainly appears from the face of the motion and the prior proceedings in the case

that Williams is not entitled to relief in this court and this action should be summarily

dismissed; an evidentiary hearing is not required. Rule 4 of the Rules Governing Section

2255 Proceedings For The United States District Courts; Baker v. United States, 781 F.2d

85, 92 (6th Cir. 1986). Accordingly, the motion to vacate, set aside or correct sentence will

be DENIED as untimely and this action DISMISSED.

       In addition to the above, this court has carefully reviewed this case pursuant to 28

U.S.C. § 1915(a) and hereby CERTIFIES that any appeal from this action would not be

taken in good faith and would be totally frivolous. Therefore, this court will DENY

Williams leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules of

Appellate Procedure. Williams having failed to make a substantial showing of the denial of

a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. § 2253.



       AN APPROPRIATE ORDER WILL ENTER.


                                                         s/ Leon Jordan
                                                    United States District Judge




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